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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK                                                                      06/21/2022
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FRHUEB.

                                                Plaintiff,                         21-CV-7395 (RA) (KHP)

                             -against-                                        ORDER SCHEDULING TELEPHONIC
                                                                                SETTLEMENT CONFERENCE
THIAGO SABINO DE FREITAS ABDALA
and PRISCILA PATTO,

                                                 Defendants.
-----------------------------------------------------------------X
KATHARINE H. PARKER, United States Magistrate Judge:

         A telephonic settlement conference in this matter to discuss issues raised in the recent

motion for injunctive relief is scheduled for Thursday, June 30, 2022 at 11:45 a.m. Counsel for

the parties are directed to call Judge Parker’s court conference line at the scheduled time.

Please dial (866) 434-5269, Access code: 4858267.

                   SO ORDERED.

DATED:             New York, New York
                   June 21, 2022

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                                                                     KATHARINE H. PARKER
                                                                     United States Magistrate Judge
